






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-06-400 CV


____________________



WOODROW WILSON WILLIAMS, Appellant



V.



WARDEN L. MASSEY, ET AL., Appellees






On Appeal from the 411th District Court


Polk County, Texas


Trial Cause No. CIV 22920






MEMORANDUM OPINION


	On September 28, 2006, the Court notified the parties that the appeal appeared to be
interlocutory because the order did not dispose of all of the claims in controversy.  The
appellant filed a response but did not identify any grounds for exercise of appellate
jurisdiction in this case.

	The Court finds no final judgment has issued.  Subject to certain statutory exceptions
not applicable in this case, only final judgments are appealable.  Tex. Civ. Prac. &amp; Rem.
Code Ann. §§ 51.012, 51.014 (Vernon 1997 &amp; Supp. 2006).  Accordingly, we hold the
jurisdiction over this case is still vested in the trial court.  The appeal is dismissed for want
of jurisdiction.

	APPEAL DISMISSED FOR LACK OF JURISDICTION.		

										


								____________________________

									DAVID GAULTNEY

										Justice


Opinion Delivered November 9, 2006 

Before McKeithen, C.J., Gaultney and Horton, JJ.


